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            ATTACHMENT 1
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Attorneys for Plaintiff Chanel, Inc.


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Chanel, Inc.,

                                Plaintiff,
        v.                                                  1:18 CV10626 (VSB)
 The RealReal, Inc.,                                         FIRST AMENDED COMPLAINT

                             Defendant.


                 Plaintiff Chanel, Inc. (“Plaintiff” or “Chanel”), by its undersigned counsel,

Sheppard Mullin Richter & Hampton LLP, for its First Amended Complaint against defendant

The RealReal, Inc. (“Defendant” or “The RealReal”), alleges as follows:

                                  SUBSTANCE OF THE ACTION

       1.        Chanel is an iconic fashion company whose luxury products are advertised and

sought worldwide. Celebrities, stylists, and influencers covet Chanel designs and accessories.

Chanel designs are prominently featured in print, television and social media. Authentic

CHANEL products -- new or secondhand -- command top-dollar prices because of their

extraordinary design and quality and the limited number of each design that are manufactured.

Chanel owns rights to several CHANEL and “CC” monogram trademarks which represent the

prestige and quality that have become associated with Chanel and its luxury designs.

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       2.      This action arises out of The RealReal’s improper business practices. The

RealReal represents itself on its website as “the premier site for online luxury consignment” and

represents to consumers that “[The RealReal] is authentic. [The RealReal] ensure[s] that every

item on the RealReal is 100% the real things, thanks to our dedicated team of authentication

experts….” Defendant The RealReal advertises and purports to sell authentic, secondhand

luxury products, including purportedly authentic CHANEL-branded products, that it obtains

from third-party consignors. In fact, Defendant The RealReal also sells CHANEL-branded

products, including handbags, which it purports to be genuine but are in fact counterfeit.

Through its business advertising and marketing practices, Defendant The RealReal has attempted

to deceive consumers into falsely believing that Defendant The RealReal has some kind of

approval from or an association or affiliation with Chanel or that all CHANEL-branded goods

sold by The RealReal are authentic.

       3.      The RealReal presents and conducts workshops for consumers on Chanel titled

“History of Chanel” and on authenticating luxury goods, including CHANEL products, when the

workshops have not been authorized or approved by Chanel.

       4.      There is no nor has there ever been any approval by or association or affiliation

between Chanel and Defendant The RealReal. The RealReal understands that the value of its

CHANEL-branded inventory and attraction for consumers is enhanced if consumers believe that

Chanel has a business relationship or affiliation with Defendant The RealReal and that Chanel

approves and/or confirms the authenticity of the products The RealReal sells.

       5.      Customers considering purchasing purportedly genuine CHANEL-branded items

from The RealReal are, in fact, relying solely on The RealReal’s – not Chanel’s – inspection of




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the CHANEL-branded items and The RealReal’s representation that The RealReal’s consumers

can be sure that “every item is 100% authentic.”

       6.      As stated above, Chanel recently learned that Defendant The RealReal has sold

counterfeit CHANEL handbags.

       7.      The RealReal’s distribution and sale of counterfeit CHANEL handbags causes

irreparable harm to Chanel and deceives the consuming public because such conduct by The

RealReal results in The RealReal’s unapproved use of Chanel’s trademarks to sell counterfeit

goods which are not authorized and are vastly inferior and materially different from genuine

Chanel products.

       8.      Chanel is seeking to prevent Defendant The RealReal from: (i) continuing to

mislead consumers into believing that The RealReal has an association, affiliation or association

with Chanel and/or that Chanel has approved of or authenticated the second-hand and counterfeit

items being sold by The RealReal, and (ii) continuing to sell counterfeit Chanel products.

Chanel takes this action in order to protect its brand, its goodwill and hard-earned reputation of

the CHANEL Trademarks (as defined below), and to protect consumers.

       9.      Based on Defendant’s misleading and infringing conduct, Chanel asserts claims

for counterfeiting and trademark infringement under Section 32(1) of the Lanham Act, 15 U.S.C.

§ 1114(1); unfair competition and false endorsement and association under Section 43(a)(1)(A)

of the Lanham Act, 15 U.S.C. § 1125(a)(1)(A); false advertising under Section 43(a)(1)(B) of the

Lanham Act, 15 U.S.C. § 1125(a)(1)(B); unfair competition under Section 349 of the New York

General Business Law; false advertising under Section 350 of the New York General Business

Law; and unfair competition under the common law of New York. Chanel seeks injunctive

relief, an accounting of Defendant’s sales and profits flowing from its counterfeiting and



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trademark infringement, false endorsement and false association, false advertising, with Chanel

and its goods, Chanel’s damages, attorneys’ fees, and such other relief as the Court deems just

and proper.

                                            PARTIES

       10.     Plaintiff Chanel, Inc. is a corporation organized and existing under the laws of the

State of New York with a principal place of business at 9 West 57th Street, New York, New

York 10019.

       11.     Upon information and belief, Defendant The RealReal, Inc. is a corporation

organized and existing under the laws of Delaware with a principal place of business at 55 San

Francisco Street, Suite 600, San Francisco, California 94133.

       12.     Upon information and belief, The RealReal owns and does business under the

name The RealReal; operates retail stores that purport to sell CHANEL-branded items, including

in various locations in Chicago, Dallas, Los Angeles, Miami, New York, San Francisco and

Washington, D.C.; operates a fully-functioning retail website at www.therealreal.com through

which consumers can consign or purchase used luxury goods, including purportedly genuine

CHANEL-branded items; operates and posts content on social media accounts to promote and

advertise The RealReal’s retail business and secondhand products, including Facebook, Twitter,

Tumblr and Instagram; engages in the sale of counterfeit products; and operates product

valuation services and luxury goods authentication workshops by The RealReal’s experts who

purport to be “certified gemologists, horologists, or brand experts.”

                                 JURISDICTION AND VENUE

       13.     This Court has jurisdiction over the subject matter of this action pursuant to

Section 39 of the Trademark Act of 1946 (the “Lanham Act”), 15 U.S.C. § 1121, and under

Sections 1331, 1338(a) and 1338(b) of the Judicial Code, 28 U.S.C. §§ 1331, 1338(a) and

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1338(b). The Court has supplemental jurisdiction over the state law claims under Section

1367(a) of the Judicial Code, 28 U.S.C. §§ 1367(a).

        14.     Venue is proper in this district pursuant to Sections 1391(b) and (c) of the Judicial

Code, 28 U.S.C. § 1391(b) and (c), because Defendant The RealReal is subject to personal

jurisdiction in this district due to its residing in the jurisdiction, voluntary transacting of business

herein, operating stores in this district, advertising in this district, offering products to consumers

in this district, shipping and selling products, including allegedly genuine CHANEL-branded

products, in and to this district, operating workshops on authenticating luxury goods, including

CHANEL-branded products, and operating a fully interactive retail website that allows

consumers from this district to consign and purchase allegedly genuine CHANEL-branded

products, and because a substantial portion of the events at issue have arisen and will arise in this

judicial district and, as a result, Chanel is suffering harm in this judicial district.

                       FACTS COMMON TO ALL CLAIMS FOR RELIEF

I.      Chanel’s Business

        15.     Plaintiff Chanel is a premier seller of a wide variety of luxury consumer products

including bags, shoes, clothing, jewelry, sunglasses, accessories, and beauty products, and is an

undisputed leader in the field of fashion and beauty.

        16.     The CHANEL brand and trademarks have been in use for more than eight

decades in United States commerce in connection with Chanel’s fashion and beauty products and

has enjoyed remarkable success and renown.

        17.     Chanel is the owner of all rights in and to the following registrations for the

CHANEL and CC Monogram trademarks in connection with handbags and accessories,

including, but not limited to, the following registrations: (collectively the “CHANEL



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Trademarks”). Printouts from the U.S. Patent and Trademark Office database reflecting the

CHANEL Trademarks are attached as Exhibit A.

              Trademark        Reg. No.     Registration Date                Goods

             CHANEL          626,035        May 1, 1956           Women’s handbags


             CHANEL          902,190        November 10, 1970     Bracelets, pins and earrings


             CC              1,314,511      January 15, 1985      Leather goods namely,
             Monogram                                             handbags

             CHANEL          1,347,677      July 9, 1985          Leather goods namely,
                                                                  handbags

             CC              1,501,898      August 30, 1988       Costume jewelry
             Monogram

             CHANEL          1,733,051      November 17, 1992     Leather goods namely,
                                                                  handbags, wallets, travel
                                                                  bags, luggage, business and
                                                                  credit card cases, change
                                                                  purses, tote bags, cosmetic
                                                                  bags sold empty, and
                                                                  garment bags for travel

             CC              1,734,822      November 24, 1992     Leather goods namely,
             Monogram                                             handbags, wallets, travel
                                                                  bags, luggage, business card
                                                                  cases, change purses, tote
                                                                  bags, and cosmetic bags sold
                                                                  empty

             CC and          3,025,934      Dec. 13, 2005         Handbags
             Design




       18.    All of the CHANEL Trademarks are valid, subsisting, and in full force and effect.

Moreover, those CHANEL Trademarks listed above are incontestable pursuant to § 15 of the

Lanham Act, 15 U.S.C. § 1065, and serve as conclusive evidence of Chanel’s ownership of the

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trademarks and of its exclusive right to use the trademarks in commerce on or in connection with

all of the goods identified in the registrations. See 15 U.S.C. § 1115(b).

       19.     As the result of Chanel’s exclusive and extensive use of the CHANEL

Trademarks, the CHANEL Trademarks have acquired enormous value and have become

extremely well known to the consuming public and to the trade as identifying and distinguishing

Chanel exclusively and uniquely as the source of products available under the CHANEL

Trademarks. Due to the worldwide public acceptance, overwhelming fame, and great

recognition of products bearing or sold under the CHANEL Trademarks, these trademarks have

come to represent an enormous amount of goodwill for Chanel and have caused merchandise

bearing the CHANEL Trademarks -- even unauthorized goods -- to be in great demand.

       20.     The CHANEL Trademarks are famous and have developed secondary meaning

and significance in the minds of the purchasing public, and the products utilizing and/or bearing

such marks are immediately identified by the purchasing public with Chanel, as high quality

merchandise created and approved by Chanel.

       21.     Chanel has carefully and diligently monitored and policed the use of the

CHANEL Trademarks.

       22.     The CHANEL Trademarks are vital to Chanel, and Chanel will suffer irreparable

harm if any third parties, including Defendant, are allowed to continue selling infringing,

counterfeit and/or knock-off goods utilizing and/or bearing identical or substantially similar

trademarks to the CHANEL Trademarks and if Defendant is allowed to continue to purport to

have a business association, relationship or affiliation with Chanel.

       23.     Chanel has advertised and promoted its products in critically-acclaimed

advertising campaigns featuring top fashion models and celebrities wearing exclusive CHANEL



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apparel and accessories. Chanel has devoted hundreds of millions of dollars promoting

CHANEL designs and products in such advertising campaigns. Chanel’s products have been

featured in fashion editorials in major fashion magazines such as Vogue, Elle, Harper’s Bazaar,

W, Marie Claire, as well as newspapers and magazines such as The New York Times, The

Financial Times, Time, WWD and Town and Country.

       24.     Hundreds of millions of dollars’ worth of consumer goods are sold each year in

the United States under the CHANEL Trademarks. Chanel’s products are known and lauded for

their high quality and style in all forms of media. To maintain the prestige of the CHANEL

brand and CHANEL Trademarks and to ensure that consumers receive the type of attention

commensurate with Chanel’s reputation for luxury and quality leather products, Chanel

authorizes its leather products, including handbags, to be sold only through its own retail stores

and carefully selected high-end, prestigious specialty stores, such as Neiman Marcus, Barney’s,

Nordstrom and Saks Fifth Avenue. Chanel’s fragrance, cosmetics and sunglasses are only sold

online at www.chanel.com and at a limited number of prestigious retailers’ specialty stores and

websites.

       25.     Chanel operates social media accounts to promote and advertise its designs and

products, including Facebook, Twitter, Tumblr and Instagram. Chanel’s Instagram site,

@chanelofficial, has 30.9 million followers and features CHANEL designs, advertising and

references to Chanel’s iconic designer, Gabrielle “Coco” Chanel, including, for example, her

famous quotes, such as “Chanel is above all style. Fashion passes, style remains.”

       26.     Chanel’s products and services are instantly recognized by the use of the famous

and well-known CHANEL Trademarks, which are federally-registered and have been used

exclusively by Chanel for decades in connection with CHANEL product lines.



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         27.   The recognition of the CHANEL brand and CHANEL Trademarks among the

public at large is enhanced not only by Chanel’s own extensive advertising efforts and limited

and select distribution but also by fashion editorial and press coverage of Chanel, as well as the

coverage of Chanel in social media by influencers, celebrities and fashion aficionados. Such

press coverage reaches hundreds of millions of consumers. Indeed, Chanel consistently appears

year after year in the Women’s Wear Daily list of the 100 best known brands in the fashion

industry.

         28.   The CHANEL brand and CHANEL Trademarks have become famous and

extraordinarily well known across all social and demographic groups and are in demand by

consumers of all ages and from all demographics.

         29.   Each genuine Chanel leather good manufactured since the mid-1980s was sold

with a Chanel authenticity card (“Carte D’Authenticite”) bearing a serial number, which matches

the serial number appearing on a label within the handbag or other leather good. Chanel and

consumers use the authenticity cards and serial numbers as one means of identifying the nature

and identity of genuine goods. For example, it is commonly known that certain serial numbers

are used by counterfeiters. As a result, if a handbag bears such a number, this is an indicator that

the leather good in question is counterfeit. Also, if a serial number is used which does not match

the type of genuine Chanel product which was sold bearing the serial number, this would also

indicate that the item is not genuine. Serial numbers are also a means for consumers to

identifying the nature and identity of genuine goods. Chanel also scrutinizes the materials,

specifications, hardware, and provenance of handbags as a means of identifying counterfeit

goods.




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         30.   The only way for consumers to absolutely ensure that they are in fact receiving

genuine CHANEL products is to purchase such goods from Chanel or from an authorized retailer

of Chanel. Chanel does not sell secondhand or vintage Chanel goods. Chanel does not sell to or

authorize sales and distribution through Defendant The RealReal and does not authenticate The

RealReal’s inventory of CHANEL-branded products as genuine. Defendant The RealReal has

not obtained the CHANEL products that it offers for sale as “100% authentic” directly from

Chanel.

II.      Defendant The RealReal’s Unlawful Conduct

         31.   Upon information and belief, The RealReal is a retailer specializing in pre-owned

handbags, jewelry, and apparel with an online site and brick and mortar retail locations for

luxury consignment which has built its business by piggybacking on the reputation of a handful

of select luxury brands -- including Chanel.

         32.   For example, an article promoting The RealReal discusses a report entitled “State

of Luxury Resale | Midyear 2018,” which is backed by items sold by The RealReal, that Chanel

is one of the top searched-for luxury brands. See Exhibit B. The report features a photo in the

“Industry Insights Women’s” section that prominently features a Chanel handbag and lists

Chanel as the Number 1 brand among the five most popular brands millennial women are buying

and consigning (see Exhibit C).

         33.   Defendant The RealReal also offers scores of allegedly genuine secondhand

CHANEL products through brick and mortar stores and online and holds itself out as an expert

on the authenticity and genuineness of secondhand CHANEL designs. For example, The

RealReal states the following regarding the alleged secondhand CHANEL-branded products it

sells: “We ensure that every item on The RealReal is 100% the real thing…. Our team of luxury



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experts inspects each item we sells so you can shop with confidence.” Defendant The RealReale

has advertised that its consumer offerings of secondhand goods are unique:

               The finest luxury items from the world’s top designers. Including
               Chanel, Louis Vuitton, Hermes, Gucci, and hundreds more. All at
               up to ninety percent off retail. And each and every one
               authenticated by our team of experts. Real luxury, unreal value.
               Only at The RealReal.

See https://www.youtube.com/watch?v=ed-2iNnZmEg.

       34.     Defendant The RealReal further represents on its website that: “Each product we

accept is put through a multiple-point, brand specific authentication process by a team of luxury

experts headed by our Director of Authentication & Brand Compliance.” Through its business

advertising and practices, The RealReal represents to consumers that its so-called experts have

been “trained” to authenticate genuine Chanel-branded goods. Moreover, Defendant The Real

Real’s website tells consumers that “Authenticity is the cornerstone of The RealReal. We staff

trained, in-house professionals including gemologists, horologists, art appraisers and apparel

experts who work to ensure the items we sell are authentic and in beautiful condition.” Such

training and knowledge regarding authentication of genuine CHANEL-branded goods could only

reside within Chanel. Only Chanel itself can know what is genuine Chanel. See Exhibit D.

       35.     In making these representations and guarantees to consumers, The RealReal

assures consumers that not only does The RealReal (and its staff) have the credentials, training,

and expertise to properly and fully authenticate real Chanel products (and consequently, detect

counterfeit products), but also that the products that consumers purchase from The RealReal are

genuine and “100% authentic[.]” The RealReal’s representations and guarantees about the

reliability and expertise of its authentication process are not only material to consumer

purchasing decisions (and clear, definitive statements of fact upon which consumers rely), but



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are critical and foundational to The RealReal’s business model. Upon information and belief, the

fact The RealReal guarantees that its Chanel-branded products are “all authenticated by our

experts” (“Real luxury. Unreal value.”) is an essential part of the advertising and marketing of

The RealReal shopping experience and brand and material to consumers.

       36.     Upon information and belief, Defendant The RealReal obtains the CHANEL-

branded products it offers for sale not from Chanel nor any authorized Chanel retailer or

distributor but rather from unknown third-party consignors, which, upon information and belief,

include counterfeiters, consumers (some of whom may not even know that they own counterfeit

products), and other secondhand resale businesses.

       37.     Upon information and belief, to verify and guarantee the authenticity of the

CHANEL products it sells, Defendant The RealReal relies solely on its own purported expertise

or that of undisclosed third parties. Chanel has not authorized or approved The RealReal’s

authentication or approval of secondhand CHANEL products as genuine. Chanel is not involved

in authenticating or approving any products sold by The RealReal and does not offer any

guarantee to The RealReal’s consumers that the products purchased from The RealReal are

authentic or approved by Chanel.

       38.     Upon information and belief, The RealReal’s advertised “team of luxury experts

headed by our Director of Authentication & Brand Compliance” is in fact not properly qualified

or trained in authentication of Chanel products to support The RealReal’s claims as to the

genuineness of the products it resells. While The RealReal’s marketing materials, including its

website, advertisements, and YouTube videos 1, tout the credentials of its Chief Authenticator,



1
 Indeed, The Real Real even goes so far as to promote its own videos entitled “How to
authenticate Chanel” to give the public a 2-minute instruction on “The RealReal ™ Inspection
Process Materials”. See https://youtu.be/XWGTGg8URAs (last visited January 30, 2019). In the

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Graham Wetzbarger, and those of its “luxury experts,” upon information and belief, neither Mr.

Wetzbarger nor his team members are former Chanel employees or persons that have been

trained by Chanel in the ways to properly authenticate a genuine Chanel product. Only such

persons that have been properly and adequately trained by Chanel have the requisite expertise to

fully authenticate genuine Chanel products. Upon information and belief, employees of The

RealReal, including Mr. Wetzbarger, claim to have credentials, work experience, and educational

training and possess a great deal of knowledge about Chanel products and the ability and

authorization to be and train others to be Chanel “experts.” Upon information and belief, no The

RealReal employees are trained by or authorized by Chanel as “experts.” Such experience and

training is not sufficient to support The RealReal’s representations and guarantees that The

RealReal exployees are experts at authenticating Chanel-branded products and the Chanel-

branded products authenticated by The RealReal’s so-called employee “experts” are “genuine”

and “100% authentic.” Only products purchased directly from Chanel and its authorized retailers

can be certain to be genuine and authentic.

       39.     Upon information and belief, any disclaimer that The RealReal purports to offer

consumers to distance itself from the brands of the products it resells is neither present nor

sufficiently conspicuous or likely to be seen by all consumers prior to purchasing from The

RealReal, and is not sufficient to adequately qualify, contextualize, explain, or negate the

representations and guarantees The RealReal makes to consumers regarding the authenticity of

the products it resells, the reliability of its authentication process, or any express or implied

claims regarding an association with any of such brands.




video, The RealReal’s Mr. Wetzbarger acknowledges that the Chanel hologram and serial
number are one means of determining whether a Chanel-branded product is counterfeit.

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       40.     Upon information and belief, The RealReal additionally offers for sale and holds

out certain CHANEL-branded products to consumers as “vintage,” when in fact, they are not

actual vintage products, and instead, are likely less than 20 years old.

       41.     2.      The Federal Trade Commission (“FTC”)’s advisory “Shopping for

Antiques” states: “A vintage collectible is an item that is at least 50 years old.”

       42.     Upon information and belief, a number of the second-hand CHANEL-branded

products offered for sale and sold by The RealReal are not “vintage collectibles” as defined by

the FTC.

       43.     Upon information and belief, a number of the second-hand CHANEL-branded

products offered for sale and sold by The RealReal are less than twenty years old.

       44.     The RealReal’s website listing references to items as “vintage” misrepresent the

nature and description of second-hand CHANEL-branded products.,

       A.      Defendant The RealReal’s Unlawful Business Practices and Consumer Deception

       45.     Although The RealReal purports to offer genuine and “100% authentic” products,

including CHANEL-branded products, an investigation conducted by Chanel has revealed that

The RealReal has advertised as genuine and authentic at least seven (7) counterfeit Chanel

handbags (“Counterfeit Chanel Bags”). For example:

       1)      Chanel Pink Patent Flap Bag;

       2)      Chanel Purple Quilted Flap Bag;

       3)      Chanel Black Hobo Bag;

       4)      Chanel Classic Black Flap Bag;

       5)      Chanel Black Flap with Handle Bag;

       6)      Chanel Black Chevron Tote; and

       7)      Chanel Naked Flap Bag.

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See Exhibit E.

       46.       The Counterfeit Chanel Bags are of a quality that is different from that of

Chanel’s genuine goods. In addition, after inspection of some of the CHANEL-branded

handbags and the serial numbers indicated on Cartes D’Authenticite and/or the leather or fabric

sewn inside the bag itself and/or on Defendant The RealReal’s website, Chanel determined

certain handbags to be counterfeits because certain purported CHANEL serial numbers on the

Cartes D’Authenticite do not correspond with the serial numbers designated for the particular

style of handbag. With regard to other counterfeit Chanel Bags sold by The RealReal, certain

aspects of the handbags indicated that the serial numbers were not genuine and that the hardware

or other aspects of certain of the handbags were counterfeit.

       47.       Despite having sold at least seven counterfeit CHANEL handbags and being put

on notice by counsel for Chanel of its sale of counterfeit CHANEL-branded products, Defendant

The RealReal continues to represent to the consuming public that:

                 The RealReal does not accept fake or counterfeit merchandise. If
                 we suspect for any reason that a submitted consignment is not
                 authentic we will contact the consignor for proof of purchase in an
                 effort to establish the items [sic] authenticity. Items The RealReal
                 determines are counterfeit will not be returned to the consignor and
                 will be destroyed.

See Exhibit D. If The RealReal’s trained experts were in fact able to distinguish between

genuine and counterfeit CHANEL handbags, The RealReal would have seized the Counterfeit

Chanel Bags and not sold them to the public.

       48.       Upon information and belief, The RealReal’s purported experts who claim to be

able to authenticate genuine CHANEL items are failing to screen counterfeit CHANEL-branded

handbags properly, and the sale of counterfeit as genuine CHANEL products is causing harm to




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consumers as well as false advertising, false endorsement and association and causing harm to

the CHANEL Trademarks and brand.

       49.     Defendant The RealReal’s above-described counterfeiting activities are likely to

cause confusion, deception and mistake in the minds of consumers. Moreover, Defendant’s

wrongful conduct creates a false impression and deceives consumers into believing that there is a

connection, affiliation, sponsorship and/or association between Chanel and The RealReal and

between Chanel’s genuine goods and Defendant’s counterfeit Chanel goods, causing irreparable

harm and damages to the consuming public and Chanel.

       B.             Defendant The RealReal’s Guarantee of Authenticity is False

       50.     Defendant The RealReal represents to potential customers in its advertising,

marketing and sales of CHANEL-branded products that “authenticity is [its] cornerstone” and

that Defendant “does not accept fake or counterfeit merchandise.” In fact, Defendant The

RealReal’s very name -- “The RealReal” -- suggests to consumers that all of its products are

genuine and authentic.

       51.     Such representation is misleading because Defendant The RealReal does not

advise consumers that neither Defendant The RealReal nor its purported experts have any

affiliation with or training with respect to authentication from Chanel, that The RealReal does

not obtain its inventory from Chanel, and that Chanel has not authenticated or opined on behalf

of The RealReal or its business associates, such as What Goes Around Comes Around, as to the

genuineness of the product.

       52.     Consumers who purchase secondhand CHANEL products through Defendant The

RealReal, which are purported to be “100% authentic,” view their expectation that the products

they purchase from The RealReal are genuine and properly authenticated as a material condition



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of sale. The representation on The RealReal’s website falsely conveys that Chanel, not The

RealReal, has authenticated the item at issue or otherwise confirmed its authenticity on behalf of

The RealReal.

       C.       The Total Effect of The RealReal’s Misleading Conduct

       53.      Defendant The RealReal is earning substantial profits while engaging in

counterfeiting activities that use CHANEL Trademarks on purported CHANEL-branded items

when such items are not, in fact, genuine Chanel goods.

       54.      Defendant The RealReal’s use of the CHANEL Trademarks, including the

promotion, advertising, marketing, distribution, sale and offering for sale of Defendant’s goods,

is without Chanel’s consent or authorization.

       55.      Defendant The RealReal’s above-identified counterfeiting activities and false

advertising and false endorsement and association with the CHANEL Trademarks cause

consumer confusion and create a false impression and deceive consumers that there is an

affiliation, sponsorship and/or association between Chanel and The RealReal when there is not

and there has not been any such relationship.

       56.      Defendant The RealReal’s representations regarding authenticity on its website

and workshops in its retail locations contain impliedly false and misleading statements indicating

that the CHANEL-branded products purchased or to be purchased are genuine CHANEL-

branded products, when they are not.

       57.      By engaging in the activities described above and other similar activities (together

the “Misleading Conduct”), Defendant The RealReal is misleading and intends to mislead

consumers into believing that: (a) Defendant The RealReal is an authorized partner or distributor

of Chanel; (b) Chanel has authorized or approved of Defendant The RealReal’s conduct and/or



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the authenticity or genuineness of its inventory; and/or (c) by doing business with Defendant The

RealReal, consumers will receive a “100% authentic” CHANEL-branded product.

       58.       The purportedly guaranteed authenticity of Defendant The RealReal’s products is

a material factor for consumers and affects purchasing decisions. The mistaken belief that

Chanel stands behind Defendant The RealReal’s CHANEL-branded products is a material factor

for consumers.

       59.       Upon information and belief, Defendant The RealReal is fully aware that the

Misleading Conduct deceives consumers regarding The RealReal’s relationship with Chanel.

Nevertheless, Defendant continues to engage in such improper and unlawful business practices

in order to attract consumers to Defendant The RealReal’s website and stores and to induce

consumers into buying products from Defendant The RealReal. Chanel has put Defendant The

RealReal on notice of Chanel’s concerns with respect to The RealReal’s sales of counterfeit

CHANEL-branded products and unlawful business and advertising activities. Yet, Defendant

The RealReal has taken no steps to rectify its unlawful and wrongful conduct or address any of

Chanel’s requests.

       60.       After Chanel determined through investigation that several counterfeit Chanel

goods were being sold by The RealReal, Chanel informed The RealReal that such items were in

fact not genuine. Upon information and belief, rather than confirm to Chanel that such goods

were in fact counterfeit, The RealReal instead rejected the claims. After Chanel brought this

action to protect its Chanel Trademarks and Brand, The RealReal removed such serial numbers

from all of its Chanel-branded leather goods product listings, thereby eliminating one means for

consumers (and Chanel) to determine their authenticity before purchase. Because removal of

such serial numbers is of no benefit to consumers, and could only be done to try and frustrate



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attempts to attempt to determine whether The RealReal Chanel-branded goods are of

questionable origin or counterfeit, such actions were, on information and belief, done in bad faith

and done to the detriment both to Chanel and the consuming public, and done as a dishonest

means unfairly competing. By removing the serial numbers from advertised products, The

RealReal has purposely, deliberately, intentionally, and willfully tried to deprive consumers of

this important information making it very difficult if not impossible to make an independent

determination as to the authenticity of the products sold by The RealReal, and leaving consumers

no choice but to rely on The RealReal’s false representations and guarantees regarding its status

as Chanel “expert”, authentication process, and the so-called “100% authentic” nature of all the

Chanel branded products it advertises and sells. Moreover, the removal of the serial numbers

from advertised products impedes Chanel’s ability to identify counterfeit goods and to control

the quality of its legitimate products by identifying counterfeit CHANEL-branded products in the

marketplace.

       61.     The RealReal’s Misleading Conduct, and its removal of the Chanel serial numbers

from its website listings creates real and harmful injury to both consumers and to Chanel. When

consumers purchase counterfeit Chanel-branded goods from The RealReal, Chanel suffers

reputational harm, as products that are being passed off as genuine (when in fact they are made

of substandard materials and/or not manufactured and approved by Chanel) are carried,

displayed, and shared in the marketplace. This reputational harm is compounded when

consumers have the understanding and belief that there is an implied association or affiliation

between Chanel and The RealReal. Chanel additionally is harmed though the loss of the ability

to identify counterfeit goods and to control the quality of its legitimate products by identifying

counterfeit CHANEL-branded products in the marketplace. Consumers that purchase counterfeit



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products advertised by The RealReal to be “100% authentic” (as supported by The RealReal’s

purported expert authentication process) are harmed not only by the financial harm of purchasing

counterfeit products, but also by the opportunity cost and reputational harm associated with such

a purchase. While significant even on an individual basis, in the aggregate, this harm is

substantial and injurious to the public.

       62.     The harm suffered by consumers and the buying public as a result of The

RealReal’s false and misleading business practices is well-documented online. Indeed, the

Better Business Bureau customer reviews for TheRealReal.com (available at www.bbb.org)

show numerous consumer complaints relating to purchases of inauthentic “luxury” goods from

The RealReal, including instances of non-genuine Chanel-branded products.

       63.     For example, such consumers reviews include the following: “I unfortunately let

the love of a good deal get the best of me, and purchased a ‘Vintage Chanel Flap,’ which I use in

quotation marks because when it arrived, it was clearly fake. Not the size as listed, not even

leather, nothing about the interior, labels, or hardware was remotely real. Even an untrained eye

could tell how poorly it was constructed, but the photos they have online were few and not of

any detail. I contacted them the minute I looked at the bag, and they agreed to look into the

matter, have their ‘Chanel Authenticator’ look into it and call me back. Well, here we are weeks

later, and still no call. Still no ‘whoops! We’re sorry for trying to dupe you AGAIN’[.]”

       64.     Such consumers reviews also include the following: “I paid $1,400 for a handbag

that was advertised as authentic Coco Chanel. The advertising even contained a picture of the

serial number on a tag that was sewn into the inside of the handbag When I received the

handbag, which was a Christmas present for my wife, there was no serial number whatsoever

anywhere in, on or around the handbag. TheRealDeal customer service department tried to dupe



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me into believing that there was a serial number affixed to the bag, claiming, ‘We have verified

the serial number is on a hologram sticker placed at an interior corner.’ However, there was no

trace of any sort of serial number affixed to the bag, inside or outside. . . . The bag is a

counterfeit. TheRealReal is an unethical company with absolutely no concern in even the

slightest degree for the welfare of their customers. They are greedy and avaricious. Caveat

emptor certainly applies here.”

          65.    Upon information and belief, The RealReal’s representations and guarantees are

false and misleading statements of fact, material to consumer purchasing decisions, and meant to

be relied on by consumers to influence such decisions; but The RealReal practices have not

matched its guarantees and assurances of authentication and genuineness in the products it sells,

plain and simple, which has resulted in real and substantial harm to both Chanel and the

consuming public.

          66.    Upon information and belief, Defendant The RealReal has caused its false and

deceptive advertising to be distributed and the goods to be sold in interstate commerce and into

this district.

          67.    Defendant The RealReal’s conduct has caused and, unless enjoined by this Court,

will continue to cause irreparable injury to Chanel. Chanel has no adequate remedy at law.

                           FIRST CLAIM FOR RELIEF:
                    TRADEMARK INFRINGEMENT (15 U.S.C. § 1114(1))

          68.    Chanel repeats and realleges paragraphs 1 through 67 above, as if fully set forth

herein.

          69.    Defendant The RealReal’s infringing activities are likely to cause confusion, or to

cause mistake or to deceive Defendant The RealReal’s customers, potential consumers, and/or

the public as to the source or sponsorship of Defendant The RealReal’s goods and services.


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Consumers are likely to be misled into believing that Defendant’s website and sale of goods

bearing the CHANEL Trademarks are licensed, sponsored, or otherwise approved by Chanel.

       70.     Upon information and belief, Defendant was on both actual and constructive

notice of Chanel’s exclusive rights in the registered CHANEL Trademarks when they adopted

the CHANEL Trademarks for use in advertising and marketing on its website and in its retail

stores to offer for sale and sell infringing and counterfeit products that exactly copy those sold by

Chanel under the CHANEL Trademarks. Defendant The RealReal’s actions are designed to

trade on Chanel’s CHANEL Trademarks. Defendant’s use of the CHANEL Trademarks is

willful, in bad faith, and with full knowledge of Chanel’s prior use of, exclusive rights in, and

ownership of the CHANEL Trademarks, with full knowledge of the goodwill and reputation

associated with the CHANEL Trademarks, and with full knowledge that Defendant has no right,

license, or authority to use the CHANEL Trademarks or any other mark confusingly similar

thereto. See Exhibit F.

       71.     Upon information and belief, Defendant The RealReal has offered for sale and

sold infringing CHANEL-branded goods, and has represented such goods to the public as

genuine and authentic CHANEL products.

       72.     Defendant’s acts are intended to reap the benefit of the goodwill that Chanel has

created in its CHANEL Trademarks and constitute infringement of Chanel’s federally-registered

trademarks in violation of § 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

       73.     Defendant’s conduct has caused and is causing immediate and irreparable injury

to Chanel and will continue to both damage Chanel and deceive the public unless enjoined by

this Court. Chanel has no adequate remedy at law.




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                     SECOND CLAIM FOR RELIEF
        TRADEMARK COUNTERFEITING IN VIOLATION OF 15 U.S.C. 1114(1)

        74.     Chanel repeats and realleges the allegations set forth in Paragraphs 1 through 73

above, as if fully set forth herein.

        75.     This is an action for trademark counterfeiting against Defendant based on its

promotion, advertisement, distribution, sale and/or offering for sale handbags bearing

counterfeits of one or more of the CHANEL trademark.

        76.     Specifically, Defendant The RealReal is selling, offering for sale and distributing

handbag products bearing counterfeits of the CHANEL trademarks. Upon information and

belief, Defendant The RealReal is continuously infringing and including others to infringe the

CHANEL Trademarks.

        77.     Defendant The RealReal’s counterfeiting activities are likely to cause and actually

are causing confusion, mistake, and deception among the general consuming public as to the

original and quality of Defendant The RealReal’s CHANEL-branded goods.

        78.     Defendant’s illegal acts are intended to reap the benefit of the goodwill that

CHANEL has created in its CHANEL Trademarks and constitute counterfeiting of CHANEL’s

federally-registered trademarks in violation of § 32(1) of the Lanham Act, 15 U.S.C. § 1114(1).

        79.     Defendant The RealReal’s conduct has caused and is causing immediate and

irreparable injury to CHANEL and will continue to both damage CHANEL and deceive the

public unless enjoined by this Court. Chanel has no adequate remedy at law.

                          THIRD CLAIM FOR RELIEF
              FALSE ADVERTISING IN VIOLATION OF 15 U.S.C. § 1125(a)

        80.     Chanel repeats and realleges the allegations set forth in Paragraphs 1 through 79

above, as if fully set forth herein.



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       81.     In representing to consumers through its advertising and representations on its

website that so-called CHANEL-branded products are “100% authentic” and that The RealReal

“does not accept…counterfeit merchandise” when Defendant The RealReal has and knowingly

continues to sell counterfeit CHANEL-branded products, Defendant The RealReal is falsely

and/or misleadingly passing off its products as products inspected or guaranteed by Chanel or

guaranteed genuine CHANEL-branded products. By so doing, Defendant The RealReal is

misrepresenting the nature, characteristics and/or qualities of certain of its goods and services

and other commercial activities.

       82.     Upon information and belief, in representing to consumers on its website and

advertising that its employs “50+ brand authenticators” so that consumers can be sure that “every

item is 100% authentic,” when, in fact, they are not authorized or trained by Chanel, Defendant

The RealReal is falsely and/or misleadingly represents to consumers The RealReal’s ability to

authenticate secondhand CHANEL products.

       83.     Upon information and belief, Defendant The RealReal made these false and

misleading representations in order to take advantage of Chanel’s renown and reputation to

induce consumers to purchase Defendant The RealReal’s products as genuine CHANEL-branded

products.

       84.     Chanel has an interest in stopping Defendant The RealReal from deceiving and

misleading consumers into believing that Defendant The RealReal offers products that are either

authentic and/or verified by Chanel to be authentic.

       85.     Defendant’s implicitly false statements of the authenticity of its goods and

services have caused and are likely to cause consumers to believe mistakenly that Chanel




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verified their authenticity of the CHANEL-branded products when, in fact, Chanel did not verify

their authenticity and did not authorize or train Defendant The RealReal or its personnel to do so.

       86.      Defendant The RealReal’s false and misleading advertisements and CHANEL-

branded products have actually deceived or are likely to deceive a substantial portion of the

intended audience and harm Chanel’s reputation.

       87.      The false and misleading misstatements made by Defendant The RealReal as to

whether Chanel has verified the product authenticity are material and are likely to influence

purchasing decisions, including decisions to purchase from Defendant The RealReal. Indeed,

Defendant The RealReal premises its business on its claimed ability to provide authentic

CHANEL-branded products to consumers and attract consumers by its misleading claim of

authenticity.

       88.      Defendant The RealReal’s conduct is willful.

       89.      Defendant The RealReal’s conduct described herein is causing immediate and

irreparable injury to Chanel, by holding its employees out as Chanel “experts” and selling

counterfeit Chanel-branded goods as genuine Chanel goods authenticated by its Chanel

“experts”, diverting consumer purchases of genuine Chanel goods, and by harming Chanel’s

goodwill and reputation by virtue of its misleading advertising and marketing efforts, and will

continue to damage Chanel and deceive consumers unless enjoined by this Court.

       90.      Upon information and belief, in representing to consumers on its website that

certain CHANEL-branded goods are “vintage,” when, in fact, they are not, the RealReal is

falsely and/or misleadingly consumers as to the purportedly “vintage” nature of the secondhand

CHANEL products offered for sale by The RealReal.




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        91.     Upon information and belief, The RealReal made these false and misleading

representations in order to take advantage of Chanel’s renown and reputation so as to induce

consumers to purchase Defendant WGACA’s products under the false impression that they were

in fact vintage items.

        92.     Chanel has an interest in stopping The RealReal from deceiving consumers into

believing that The RealReal offers products that purportedly vintage products when those items

are not in fact vintage.

        93.     The RealReal’s false statements of the vintage nature of certain of its goods and

services have caused and are likely to harm consumers by causing them to mistakenly believe

that certain Chanel products are vintage when they are not.

        94.     The RealReal’s false and misleading advertisements and CHANEL-branded

products have actually deceived or are likely to deceive a substantial portion of the intended

audience and harm Chanel’s reputation.

        95.     The false and misleading misstatements made by The RealReal as to the “vintage”

status of certain products are material and are likely to influence purchasing decisions.

        96.     Defendant The RealReal’s acts constitute false advertising and false

representations in violation of 15 U.S.C. § 1125(a). Chanel has no adequate remedy at law.

        97.     Upon information and belief, Defendant The RealReal received substantial

revenues and substantial profits arising out of its acts of passing off and false advertising to

which it is not entitled, and Chanel also suffered damages as a result of Defendant The

RealReal’s acts of false advertising, for which Defendant The RealReal is responsible.




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                              THIRD CLAIM FOR RELIEF
                     FALSE ENDORSEMENT/UNFAIR COMPETITION
                          IN VIOLATION OF 15 U.S.C. § 1125(a)

        98.     Chanel repeats and realleges the allegations set forth in Paragraphs 1 through 97

above as if fully set forth herein.

        99.     Defendant The RealReal is engaged in a pattern of conduct and a business

practice designed to cause confusion and mistake, and to deceive consumers by conveying the

erroneous impression that The RealReal engages in the resale of authentic CHANEL-branded

products that its goods and services are authentic and approved by Chanel even though Chanel

has no affiliation with The RealReal or its inventory. Furthermore, Defendant The RealReal’s

business practice claims to be offering for sale of “100% authentic” CHANEL-branded products,

when, in fact, some of the goods are counterfeit Chanel products.

        100.    Defendant The RealReal’s conduct is willful and causing immediate and

irreparable injury to Chanel, both by holding its employees out as Chanel “experts” and selling

counterfeit Chanel-branded goods as genuine Chanel goods authenticated by its Chanel

“experts”, diverting consumer purchases of genuine Chanel goods, and by harming Chanel’s

goodwill and reputation by virtue of its misleading advertising and marketing efforts, , and will

continue to damage Chanel and deceive consumers unless enjoined by this Court.

        101.    Defendant The RealReal’s actions alleged above constitute a false designation of

origin, false and misleading descriptions of fact, and false and misleading representations of fact,

which have caused, and are likely to cause, confusion, mistake and deception, in violation of

§ 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). Chanel has no adequate remedy at law.

        102.    Upon information and belief, Defendant The RealReal received substantial

revenues and substantial profits arising out of its acts of false advertising to which it is not



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entitled, and Chanel also suffered damages as a result of Defendant The RealReal’s acts of false

advertising, for which Defendant The RealReal is responsible.

                      FOURTH CLAIM FOR RELIEF
      UNFAIR COMPETITION IN VIOLATION OF NEW YORK COMMON LAW

        103.    Chanel repeats and realleges the allegations set forth in Paragraphs 1 through 102

above, as if fully set forth herein.

        104.    In repeatedly offering for sale counterfeit CHANEL-branded products while

assuring consumers of the authenticity of its inventory as determined by “brand authenticators”

who inspect goods to be sure that every item is “100% authentic,” while failing to inform

consuming public that Defendant The RealReal has no affiliation with Chanel and further

deceiving consumers by engaging in sale of counterfeit CHANEL-branded items, Defendant The

RealReal is engaged in a pattern of willful and intentional conduct and a business practice

designed to cause confusion and mistake, and to deceive consumers by conveying the erroneous

impression that its goods and services are authentic Chanel even though Chanel has no affiliation

with The RealReal or its inventory.

        105.    Defendant The RealReal’s conduct complained of herein is likely to confuse the

public as to the origin, source or sponsorship of Defendant The RealReal’s CHANEL-branded

goods and services, or to cause mistake or to deceive the public into believing that Defendant

The RealReal’s goods and services are authorized, sponsored, endorsed, licensed by, or affiliated

with Chanel and/or that Chanel has authenticated Defendant The RealReal’s goods and services,

in violation of Chanel’s rights in the CHANEL brand and the CHANEL Trademarks under New

York State common law.

        106.    Upon information and belief, Defendant The RealReal has engaged in wrongful

conduct with constructive and/or actual knowledge that it would mislead consumers as to


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Defendant The RealReal’s relationship with Chanel. By willfully misleading consumers in this

manner, Defendant The RealReal has been unjustly enriched and Chanel has been damaged.

        107.    By misappropriating and trading upon the goodwill and business reputation of

Chanel, Defendant The RealReal has been and, unless enjoined by this Court, will continue to be

unjustly enriched at Chanel’s expense.

        108.    Defendant The RealReal’s wrongful conduct constitutes unfair competition under

New York common law. Chanel has no adequate remedy at law.

        109.    Defendant The RealReal’s conduct has caused and is causing immediate and

irreparable injury to Chanel and will continue to both damage Chanel and deceive the public

unless enjoined by this Court.

                              FIFTH CLAIM FOR RELIEF
                       VIOLATION OF THE NEW YORK DECEPTIVE
                          AND UNFAIR TRADE PRACTICES ACT
                       IN VIOLATION OF N.Y. GEN. BUS. LAW § 349

        110.    Chanel repeats and realleges the allegations set forth in Paragraphs 1 through 109

above, as if fully set forth herein.

        111.    By reason of the acts set forth above, Defendant The RealReal has been and is

engaged in deceptive acts or practices in the conduct of a business, trade or commerce, in

violation of Section 349 of the New York General Business Law.

        112.    Defendant The RealReal’s conduct is willful and in knowing disregard of

Chanel’s rights.

        113.    Defendant The RealReal has been and is engaged in deceptive acts or practices in

the conduct of a business, trade or commerce in violation of Section 349 of the New York

General Business Law. Chanel has no adequate remedy at law.




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        114.    Defendant The RealReal’s conduct has caused and is causing immediate and

irreparable injury to Chanel and will continue to both damage Chanel and deceive the public

unless enjoined by this Court.

                         SIXTH CLAIM FOR RELIEF
         FALSE ADVERTISING IN VIOLATION OF N.Y. GEN. BUS. LAW § 350

        115.    Chanel repeats and realleges the allegations set forth in Paragraphs 1 through 114

above, as if fully set forth herein.

        116.    By reason of the acts set forth above, Defendant The RealReal has been and is

engaged in consumer-oriented advertising and marketing in the conduct of its business, trade

and/or commerce that is false and misleading in material respects, in violation of Section 350 of

the New York General Business Law.

        117.    Upon information and belief, Defendant The RealReal has engaged in false

advertising in order to induce consumers to purchase used products from Defendant The

RealReal. Chanel has no adequate remedy at law.

        118.    Defendant The RealReal’s conduct described herein is causing immediate and

irreparable injury to Chanel, both by holding its employees out as Chanel “experts” and selling

counterfeit Chanel-branded goods as genuine Chanel goods authenticated by its Chanel

“experts”, diverting consumer purchases of genuine Chanel goods, and by harming Chanel’s

goodwill and reputation by virtue of its misleading advertising and marketing efforts, and will

continue to damage Chanel and deceive and harm the public unless enjoined by this Court.

        WHEREFORE, Plaintiff Chanel, Inc. respectfully demands judgment as follows:

        1)      That a permanent injunction be issued enjoining Defendant The RealReal from:

                (a)     selling, offering, advertising, marketing, distributing, disseminating, or

                        otherwise providing any product that bears any mark that is a simulation,


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               reproduction, copy, colorable imitation, or confusingly similar variation of

               any of the CHANEL Trademarks; marketing, promoting or advertising

               any goods and services in a manner that causes consumers to believe that

               Defendant The RealReal is associated or affiliated with Chanel in any way

               or that Defendant The RealReal’s goods have been approved or

               authenticated by Chanel or individuals affiliated with Chanel;

         (b)   disseminating any false and/or misleading information relating to the

               authenticity, nature or age of Defendant The RealReal’s goods and

               services with respect to Chanel;

         (c)   disseminating any false and/or misleading information about Chanel, the

               CHANEL Trademarks, and/or Chanel products;

         (d)   listing and/or advertising CHANEL-branded products as “vintage” unless

               such items meet the definition of “vintage collectible” set forth in the

               FTC’s advisory “Shopping for Antiques” of being “at least 50 years old”;

         (e)   engaging in any activity constituting counterfeiting of CHANEL

               Trademarks under 15 U.S.C. § 1114(1)(a);

         (f)   engaging in any other activity constituting false advertising of Chanel

               products;

         (g)   engaging in any other activity constructing false endorsement or false

               affiliation with Plaintiff Chanel and/or the CHANEL Trademarks;

         (h)   engaging in any other activity constituting unfair competition with Chanel;

               and




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   CaseCase
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               (i)     assisting, aiding, or abetting any other person or business entity in

                       engaging in or performing any of the activities referred to in

                       subparagraphs (a) through (g) above.

       2)      That the Court issue an order directing Defendant The RealReal to include a

disclaimer on all advertising, marketing and promotional materials concerning or relating to

purportedly CHANEL-branded products that Defendant The RealReal is not sponsored,

associated, authorized or affiliated with Chanel nor do its “brand authenticators,” including

valuation managers, brand compliance managers, and brand authenticators have any relationship

with or training from Chanel and that such disclaimer must be prominently displayed with large

and legible text placed upon the secondhand materials, as well as in all of The RealReal’s

advertising, marketing and promotional materials.

       3)      That the Court issue an order directing Defendant The RealReal to notify potential

consumers that the purported authenticity of the products for sale by Defendant The RealReal is

not verified or authenticated by Chanel and that Chanel does not guarantee items sold by

Defendant The RealReal are genuine and that such notice must be prominently displayed with

large and legible text placed upon the materials, as well as in all of The RealReal’s advertising,

marketing and promotional materials.

       4)      Directing that Defendant The RealReal, at its own expense, be directed to recall

any and all counterfeit products from any consumers, distributors, retailers, vendors or others to

whom it has distributed or sold her counterfeit products.

       5)      Directing such other relief as the Court may deem appropriate to prevent the

public from deriving erroneous impressions regarding Defendant The RealReal, its affiliation

with Chanel and/or the authenticity of its products.



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                                                                 33 of3434of 86



       6)      Directing that Defendant The RealReal file with the Court and serve upon

Chanel’s counsel within thirty (30) days after entry of judgment a report in writing under oath,

setting forth in detail the manner and form in which it has complied with the above.

       7)      Awarding Chanel its actual damages, trebled pursuant to 15 U.S.C. § 1117(a) and

(b), or, if Chanel elects, statutory damages as the Court considers just, up to $2,000,000 per

counterfeit mark per type of goods sold, offered for sale, or distributed, pursuant to 15 U.S.C.

§ 1117(c), arising out of Defendant's acts of willful trademark infringement and counterfeiting

based on Defendant's use of the CHANEL Trademarks.

       8)      Awarding Chanel its actual damages, trebled pursuant to 15 U.S.C. § 1117(a),

arising out of Defendant's acts of willful unfair competition.

       9)      Requiring Defendant to account for and pay over to Chanel three times the profits

realized by Defendant from its infringement of the CHANEL Trademarks and unfair competition

with Chanel.

       10)     Awarding Chanel such further amounts as the Court may in its discretion find to

be just should the amount of profits be inadequate, pursuant to 15 U.S.C. § 1117(a).

       11)     Awarding Chanel exemplary and punitive damages to deter any further deceptive

and unfair conduct as the Court finds appropriate.

       12)     Awarding Chanel its costs and disbursements incurred in this action, including,

but not limited to, reasonable attorneys’ fees, pursuant to 15 U.S.C. § 1117(a).

       13)     Awarding Chanel its actual damages, trebled pursuant to Section 349(h) of the

New York General Business Law, arising out of Defendant’s acts of willfully and knowingly

engaging in deceptive business practices that disregarded Chanel’s rights.




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          14)    Awarding Chanel reasonable attorney’s fees, pursuant to Section 349(h) of the

New York General Business Law.

          15)    Awarding Chanel its actual damages, trebled pursuant to Section 350-e(3) of the

New York General Business Law, arising out of Defendant’s acts of willful and knowing false

advertisement using the CHANEL Marks.

          16)    Awarding Chanel reasonable attorney’s fees, pursuant to Section 350-e(3) of the

New York General Business Law.

          17)    Awarding Chanel interest, including pre-judgment interest on the foregoing sums.

          18)    Awarding Chanel such other and further relief as the Court may deem just and
proper.
                                          JURY DEMAND

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury of all issues so triable.

                                                    Respectfully submitted,

                                                    SHEPPARD MULLIN RICHTER & HAMPTON LLP


                                                    /s/Theodore C. Max
Dated: February 1, 2019                             Theodore C. Max
       New York, New York                           tmax@sheppardmullin.com
                                                    Thomas M. Monahan
                                                    tmonahan@sheppardmullin.com
                                                    30 Rockefeller Plaza
                                                    New York, New York 10112
                                                    Telephone: 212-653-8700
                                                    Facsimile: 212-653-8701

                                                    Attorneys for Plaintiff Chanel, Inc.




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                 UNITED STATES DEPARTMENT OF COMMERCE
                     United States Patent and Trademark Office

                                                          May 23, 2008

          THE ATTACHED U.S. TRADEMARK REGISTRATION 626,035 IS
          CERTIFIED TO BE A TRUE COPY WHICH IS IN FULL FORCE AND
          EFFECT WITH NOTATIONS OF ALL STATUTORY ACTIONS TAKEN                                     «r
          THEREON AS DISCLOSED BY THE RECORDS OF THE UNITED STATES
          PATENT AND TRADEMARK OFFICE.
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Í        REGISTERED FOR A TERM OF 20 YEARS FROM May ()1, 1956
         3rd RENEWAL FOR A TERM OF 10 YEARS FROM May 01, 2006
         SECTION 8 & 15
         SAID RECORDS SHOW TITLE TO BE IN:
             CHANEL, INC
I；          A NEW YORK CORPORATION

                              By Authority of the
                              Under Secretary of Commerce foF lntellectiial Property
                              and Director of the United States Patent and Trademark Office

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                                                          농살^絲에）
                                                          Certifying Officer

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                                                                  3 of  of 86
Int. CL: 18
Prior U.S. CL: 3
                                                            Reg. No. 626,035
United States Patent and Trademark Office             Registered May 1,1956
10 Year Renewal                             Renewal Term Begins May 1,1996


                           TRADEMARK
                       PRINCIPAL REGISTER



                               CHANEL




CHANEL, INC (NEW YORK CORPORA-           OWNER OF U.S. REG. NOS. 195,360,
  TION)                                513,132 AND OTHERS.
9 WEST 57TH STREET                       SEC. 2(F).
NEW YORK, NY 10019, BY ASSIGN­           FOR: WOMEN'S HANDBAGS, IN
  MENT AND ASSIGNMENT FROM             CLASS 3 (INT. CL. 18).       *
  CHANEL, INC, (NEW YORK CORPO­          FIRST USE 0-0-1938； IN COMMERCE
  RATION) NEW YORK, NY                 11-24-1954.
                                         SER. NO. 71-678,436, FILED 12-Í6-1954.




              In testimony whereof I have hereunto set my hand
              and caused the seal of The Patent and Trademark
              Office to be affixed on Aug. 27, 1996.




             COMMISSIONER OF PATENTS AND TRADEMARKS
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                 UNITED STATES DEPARTMENT OF COMMERCE
                     United States Patent and Trademark Office

                                            May 04,2010

      THE ATTACHED U.S. TRAD EMARK REGISTRATION 902,190 IS
M     CERTIFIED TO BE A TRUE COPY WHICH IS IN FULL FORCE AND
      EFFECT WITH NOTATIONS OF ALL STATUTORY ACTIONS TAKEN
      THEREON AS DISCLOSED BY THE RECORDS OF THE UNITED STATES
      PATENT AND TRADEMARK OFFICE,

      REGISTERED FOR A TERM OF 20 YEARS FROM November 10,1970
      3rd RENEWAL FOR A TERM OF 10 YEARS FROM November 10, 2010
      SECTION 8 & 15
      SAID RECORDS SHOW TITLE TO BE IN:
         REGISTRANT



                       By Authority of the
                       Under Secretary of Commerce for Intellectual Property
                       and Director of the United States Patent and Trademark Office


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                                                                       5 of  of 86
     Int. Cl.: 14
     Prior U.S. O.: 28
                                                             Reg. No. 902,190
     United States Patent and Trademark Office       Registered Not, 10,1970
     10 Year Renewal                           Renewal Approved Oct 15,1990

                                   TRADEMARK
                               PRINCIPAL REGISTER



                                       CHANEL




     CHANEL, INC. (NEW YORK CORPORA­            FOR: BRACELETS, PINS, AND EAR­
       TION)                                  RINGS ,IN CLASS 28 (INT. CL. 14).
     9 W. 57TH ST.                              FIRST USE 0-0-1914; IN COMMERCE
     NEW YORK, NY 10019                       (MM925.
      OWNER OF US. REG. NO. 612,169.            SER. NO. 72-339,492, FILED 5-28-1969.
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                    In testimony whereof I have hereunto set my hand
                    and caused the seal of The Patent and Trademafk
                    Office to be affixed on Nov, 27, 1990.




                COMMISSIONER OF PATENTS AND TRADEMARKS
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United States Patent O伍ce                                                                        902,190
                                                                             Registered Nov. 10, 1970


                                  PRINCIPAL REGISTER
                                       Trademark

                                      Ser. No. 339,492, filed May 28,1969




                                               CHANEL
Chanel, Inc. (New York corporation)
1 W. 57th St.                                              For: BRACELETS, PINS, AND EARRINGS, in
New York, N,Y. 10019                                     CLASS 28 (INT. CL. 14).
                                                          First use in 1914; in commerce in or before 1925.
                                                           Owner of Reg. No. 612,169.
Case 1:18-cv-10626-VSB-GWG
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                                                02/01/19     Page  4212
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  Int. Cis.: 16 and 18
  Prior U.S. Cis.: 3 and 37
                                                                             Reg. No. 1,314,511
  United States Patent and Trademark Office                                    Registered Jan. 15,1985


                                        TRADEMARK
                                        Principal Register




                                           X
  Chanel, Inc. (New York corporation)               CASES, TOTE BAGS, GARMENT BAGS AND
  9 W. 57th St                                      TRAVELLERS’ SHOE BAGS, in CLASS 18 (U.S.
  New York, N.Y. 10019
                                                    Cl. 3).
    For： NOTEBOOKS AND STATIONERY-TYPE                 First use Nov. 24, 1954; in commerce Nov. 24,
  PORTFOLIOS, in CLASS 16 (U.S. Cl. 37).
    First use Sep. 1981; in commerce Sep. 1981.     1954.
    For: LEATHER GOODS—NAMELY, HAND-                   Owner of U.S. Reg. No. 1,075,016.
  BAGS, WALLETS, TRAVEL BAGS, LUGGAGE,
  CREDIT CARD AND BUSINESS CARD CASES,
  MAKE-UP BAGS AND VANITY CASES SOLD                  Ser. No. 356,733, filed Mar. 26, 1982.
  EMPTY,       BRIEFCASE-TYPE         PORTFOLIOS;
  ATTACHE CASES, CHANGE PURSES, SUIT-               FRANCIE R. GOROWITZ, Examining Attorney
Case 1:18-cv-10626-VSB-GWG
   Case                      Document
         1:18-cv-10626-VSB Document   89-1Filed
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                                                02/01/19     Page  4312
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Int. Cis.: 16 and 18
Prior U.S. Cis.: 3 and 37
                                                                  Reg. No. 1,347,677
United States Patent and Trademark Office                            Registered 均9,娜

                                   TRADEMARK
                               PRINCIPAL REGISTER


                                      CHANEL



CHANEL, INC. (NEW YORK CORPORATION)           MAKE-UP BAGS AND VANITY CASES SOLD
9 W. 57TH ST.                                 EMPTY, GARMENT BAGS FOR TRAVEL AND
NEW YORK, NY 10019                            TRAVELLERS，SHOE BAGS, IN CLASS 18 (ILS.
                                              CL. 3).
  FOR: NOTEBOOKS AND STATIONERY                 FIRST USE 0-0-1938; IN COMMERCE
TYPE PORTFOLIOS, IN CLASS 16 (U.S. CL. 37).   11-24-1954.
  FIRST USE 9-0-1981; IN COMMERCE
                                                OWNER OF U.S. REG. NO. 626,035.
9-0-1981.
  FOR: LEATHER GOODS—NAMELY, HAND­
BAGS, WALLETS，TRAVEL BAGS, LUGGAGE,            SER. NO. 356,734, FILED 3-26-1982.
BUSINESS AND CREDIT CARD CASES； BRIEF
CASE TYPE PORTFOLIOS, ATTACHE CASES,          ROBERT PEVERADA, EXAMINING ATTOR­
CHANGE PURSES, SUITCASES, TOTE BAGS,           NEY
Case 1:18-cv-10626-VSB-GWG
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  Int. Cis.: 6, 14, 16, 25 and 26
  Prior U.S. Cis.: 13, 28, 37, 39 and 40
                                                                     Reg. No. 1,501,898
  United States Patent and Trademark Office Registered Aug. 30, i988
                                     TRADEMARK
                                 PRINCIPAL REGISTER




  CHANEL, INC. (NEW YORK CORPORATION)              FOR： BLOUSES, SHOES, BELTS, SCARVES,
  9 WEST 57TH STREET                             JACKETS, MEN’S TIES, IN CLASS 25 (U.S. CL.
  NEW YORK, NY 10019                             39).
                                                   FIRST USE 9-0-1981; IN COMMERCE
     FOR： KEYCHAINS, IN CLASS 6 (U.S. CL. 13).   9-0—1981
     FIRST USE       9-0-1981; IN COMMERCE          FOR： BROOCHES, BUTTONS FOR CLOTH­
   9-0-1981.                                     ING, IN CLASS 26 (U.S. CL. 40).
     FOR： COSTUME JEWELRY, IN CLASS 14              FIRST USE 9-0-1981; IN COMMERCE
   (U.S. CL. 28).                                9-0-1981
      FIRST USE      9-0-1981; IN COMMERCE          OWNER OF U.S. REG. NOS. 195,359, 1,347,094
   9—0—198Î                                      AND OTHERS.
      FOR: GIFT WRAPPING PAPER , IN CLASS
   16 (U.S. CL. 37).                               SER. NO. 644,065, FILED 2-9-1987.
      FIRST USE      8-0-1986; IN COMMERCE
   8-0-1986.                                     JANE MCCABE, EXAMINING ATTORNEY
Case 1:18-cv-10626-VSB-GWG
  Case                      Document
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   Int. Cl.: 18
   Prior U.S. Cl.: 3
                                             Reg. No. 1,733,051
    United States Patent and Trademark Office Registered Nov. h, mi

                                  TRADEMARK
                              PRINCIPAL REGISTER


                                     CHANEL



    CHANEL, INC. (NEW YORK CORPORATION)                      0-0-1954;   IN   COMMERCE
    9 WEST 57TH STREET                      0-0-1954.
    NEW YORK, NY 10019                       OWNER OF U.S. REG. NOS. 626,035, 1,347,677
                                            AND OTHERS.
      FOR： LEATHER GOODS; NAMELY, HAND­
    BAGS, WALLETS, TRAVEL BAGS, LUGGAGE,      SER. NO. 74-242,426, FILED 1-31-1992.
    BUSINESS AND CREDIT CARD CASES,
    CHANGE PURSES, TOTE BAGS, COSMETIC
    BAGS SOLD EMPTY, AND GARMENT BAGS       KEITH L. HENDERSON, EXAMINING ATTOR­
    FOR TRAVEL, IN CLASS 18 (U.S. CL. 3).    NEY
Case 1:18-cv-10626-VSB-GWG
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  Int. Cl.: 18
  Prior U.S. Cl.: 3
                                           Reg. No. 1,734,822
  United States Patent and Trademark Office Registered nov. 24,1992

                               TRADEMARK
                            PRINCIPAL REGISTER




  9 WEST 57TH STREET
  NEW YORK, NY 10019
                      X
  CHANEL, INC. (NEW YORK CORPORATION)



   FOR： LEATHER GOODS； NAMELY, HAND­
  BAGS, WALLETS, TRAVEL BAGS, LUGGAGE,
  BUSINESS CARD CASES, CHANGE PURSES,
                                           FIRST USE 0-0-1954；
                                         0-0-1954.
                                                                  IN COMMERCE

                                           OWNER OF U.S. REG, NOS. 1,293,298, 1,314,511
                                         AND OTHERS.

                                           SER. NO. 74-242,471, FILED 1-31-1992.

  TOTE BAGS, AND COSMETIC BAGS SOLD      KEITH L. HENDERSON, EXAMINING ATTOR­
  EMPTY, IN CLASS 18 (U.S. CL. 3).        NEY
Case 1:18-cv-10626-VSB-GWG
  Case                      Document
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                                                          Page    4712
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  Int. CL: 18
  Prior U.S. Cis.: 1, 2, 3, 22 and 41
                                                                               Reg. No. 3,025,934
  United States Patent and Trademark Office                                      Registered Dec. 13, 2005


                                          TRADEMARK
                                      PRINCIPAL REGISTER




  CHANEL, INC. (NEW YORK CORPORATION)
  9 WEST 57TH STREET
  NEW YORK, NY 10019
                                     E
     FOR: HANDBAGS, IN CLASS 18 (U.S. CLS. 1, 2, 3,
  22 AND 41).
                                                        OWNER OF U.S. REG. NOS. 195,359,1,734,822 AND
                                                      OTHERS.
                                                        THIS MARK IS A THREE-QUARTER VIEW OF
                                                      THE CHANEL CC MONOGRAM WHICH IS COM­
                                                      PRISED OF INTERLOCKING C’S.
                                                        SER. NO. 76-615,089, FILED 10-8-2004.

    FIRST USE 6-1-2004; IN COMMERCE 6-1-2004.         KIMBERLY PERRY, EXAMINING ATTORNEY
CaseCase
     1:18-cv-10626-VSB-GWG  Document
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                                    26-2    Filed 12/21/20Page
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                   Exhibit %
10/2/2018        CaseCase
                      1:18-cv-10626-VSB-GWG
                                      Luxury Brands
                          1:18-cv-10626-VSB         Document        89-1Reseller
                                                    Can't Ignore Fashion
                                                 Document        26-2      Filed
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                                                                                  02/01/19      Page    496of 86
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                                        Luxury Brands Can't Ignore
                                        Fashion Reseller The RealReal
                                        Anymore
                                                      Pamela N. Danziger Contributor         i

                                                      Retail
                                                      I study the world's most powerful consumers -- The American Affluent




                                         TWEET THIS


                                             Gently used luxury fashion is a real trend

                                              If you know you can make 80% of [the price] of an item back, you are more likely to go ahead and make the
                                             purchase in the primary market




                                        The RealReal Melrose Avenue store, Los Angles      JOYCE LEE STUDIOS




                                        Long dismissed as an opportunistic upstart of little consequence by the luxury
                                        establishment, The RealReal is proving it is on to something big. Gently used
                                        luxury fashion is a real trend  and The RealReal has discovered the secret
                                        sauce: become a trusted and authoritative partner for luxury-fashion
                                        consigners and buyers, many of who are the same person.

                                        The resale market for fashion is particularly hot. Thredup, an online reseller
                                        of mass-fashion brands as distinguished from The RealReal in luxury, predicts
                                        the total resale retail market to reach $41 billion in 2022. Further the latest
                                        Census report on the retail market identifies used-merchandise stores among
                                        the fastest-growing sectors this year, up 7.6% through the first half of 2018
                                        following an 11.6% gain last year. And that number doesn’t even include
                                        online sellers like Thredup and The RealReal.

                                        In 2017 Julie Wainwright, founder of The RealReal, told CNBC that sales had
                                        topped $500 million in the first six years after doing $10 million its first year
                                        in 2011. To date, the company has raised $288 million in funding, according
                                        to Crunchbase.

                                        The RealReal becomes real

                                        The RealReal got its start online, but like so many other digitally native
                                        companies, it is now expanding into brick-and-mortar retail with two
                                        permanent locations where luxury consigners and customers can congregate.

https://www.forbes.com/sites/pamdanziger/2018/08/22/luxury-brands-cant-ignore-fashion-reseller-the-realreal-anymore/#4f2bf0501a20                         1/5
10/2/2018        CaseCase
                      1:18-cv-10626-VSB-GWG
                                      Luxury Brands
                          1:18-cv-10626-VSB         Document        89-1Reseller
                                                    Can't Ignore Fashion
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                                                                         Filed   The12/21/20      Page
                                                                                     RealReal Anymore
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                                                                                                      3 of
                                        One store is located in New York City's SoHo neighborhood and another just
                                        opened on Los Angeles’ Melrose Avenue close to the Nordstrom Local concept
                                        store and Glossier, another digitally native beauty company.


                                        YOU MAY ALSO LIKE




                                        Unique to the new Los Angeles location is a section devoted to men’s fashion,
                                        a rapidly growing segment of The RealReal’s business. It also continues to test
                                        opportunities in physical retail through opportunistic pop-up shops, in places
                                        like Las Vegas and San Francisco.

                                        Wainwright told me that the stores fill a need for the business that its online
                                        presence can’t match. The average order size in The RealReal stores are two
                                        times larger than online and it is a way to secure the best-quality
                                        consignments to sell on.

                                        “It is a marketing tactic, sales tactic and product acquisition tactic,”
                                        Wainwright says. “We find we get lots of high-quality consignments when we
                                        do pop-ups.”

                                        The RealReal’s appeal

                                        For many older affluent consumers, shopping secondhand has been a well-
                                        kept secret, something they do on the sly. “Some of the smartest people I
                                        know have been buying consignment forever but never talked about it — even
                                        some of the richest people I know, because they like good value," Wainwright
                                        told CNBC.




                                        Julie Wainwright, founder The RealReal   MARGOT DUANE




                                        But Millennial shoppers have no such qualms. They love the treasure-hunt
                                        experience that only secondhand shopping gives them.

                                        American shoppers are inundated with too much of the same-old, same-old
                                        fashion that results in them looking like everyone else. Millennials, most
                                        especially, want a look that is all their own, and The RealReal helps them get
                                        that.

                                        “Layering, mixing patterns and pairing luxury with contemporary, formal
                                        with casual are what’s happening now,” says Rati Levesque, chief merchant at
                                        The RealReal. “It’s very individualistic, customizable and authentic.”



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                                        The RealReal delivers that and at a price, though hardly cheap, that opens the
                                        door to luxury that more people to afford. “Americans are value shoppers
                                        more than anything,” Wainwright says.

                                        “So we find they buy from our site and buy new and then consign things they
                                        may have kept for a couple of months. Then they use the money from
                                        consignments to buy new or buy from us again.”

                                        What drives them all to The RealReal is a passion for fashion. “Whether
                                        someone is a collector, archivist or simply loves fashion, they see something
                                        on the site that they remember on the cover of Vogue, or who wore it on the
                                        runway, and they have to buy it,” explains Levesque. “Often new trends take
                                        time to catch on and by the time you’re lusting for it, the item may have sold
                                        out in the boutique.”

                                        “Customers love shopping on The RealReal to find treasures that slipped
                                        through their hands or that they never had the opportunity to own before,” he
                                        continues.

                                        What’s hot, what’s not

                                        What The RealReal recognizes, and the luxury brands may yet have to learn, is
                                        that its resale market is a vital part of the greater luxury market
                                        infrastructure. It helps support first-time sales.

                                        “Whenever we survey our consigners or buyers, they say they check out our
                                        site before they buy new. It helps them if they are going to spend a lot of
                                        money to know that the value is good. Even if they have never consigned, they
                                        want to know they can,” Wainwright says. “People can’t underestimate how
                                        smart shoppers are.”

                                        “ If you know you can make 80% of [the price] of an item back, you are more
                                        likely to go ahead and make the purchase in the primary market  ,”
                                        Levesque adds.

                                        Because luxury fashion trends track in tandem both in the primary and
                                        secondary luxury market, The RealReal’s new “State of Luxury Resale” report
                                        gives a valuable perspective on what luxury fashionistas crave now.

                                        Backed by data on 8 million items sold, The RealReal reports that Gucci has
                                        pushed Chanel aside as the No. 1 brand searched on the site, while Louis
                                        Vuitton continues as the second-most-searched for brand, followed by Chanel.

                                        Also moving up on its hot list are Cartier (No. 10), Dolce & Gabanna (No. 12),
                                        Tiffany (No. 13), Tory Burch (No. 13), Saint Laurent (No. 15) and Fendi (No.
                                        16). Losing traction this year were Goyard, dropping from No. 8 last year to
                                        No. 17, and Isabel Marant (now No. 18 from No. 11).

                                        Rounding out the top ten luxury brands in search is Christian Louboutin (No.
                                        4), Hermès (No. 5), Prada (No. 6), Céline (No. 7), Burberry (No. 8) and
                                        Valentino (No. 9).

                                        In sales Gucci is the fastest growing, up 62% YoY, followed by Hermès, +40%,
                                        and Chanel, +34%. Of note, Hermès is reported to be the fastest-growing
                                        brand among Millennials, up 71% among shoppers 18-34 years old.

                                        Regarding this year’s fashion trends, Levesque says logo-mania is back.
                                        “Iconic, logo-centric styles, notably Dior, Gucci and Fendi, are coming on


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                                        strong in resale value, while past-season’s styles without ‘in-your-face’ labels
                                        are on the decline.”

                                        For men The RealReal is tracking a trend toward casual street styles, with
                                        Kanye West’s Yeezy X Adidas the sneaker of the moment across most of the
                                        country. Along with streetwear, The RealReal is also seeing a trend for what it
                                        calls “dad-style.” Hawaiian shirts are hot (cool), as are “dad” ball caps and
                                        fanny packs.

                                        Tracking The RealReal

                                        Online The RealReal is dramatically increasing its traffic this year, according
                                        to data compiled by SimilarWeb. “Over the past 18 months, U.S. desktop &
                                        mobile Web traffic to therealreal.com averages 2.2 million visits per month.
                                        This number is up nearly one-third, increasing from an average of 1.9 million
                                        visits in first half of 2017 to 2.5 million in the first half of 2018,” says Liron
                                        Hakim-Bobrov, Marketing Insights Manager.




                                        The RealReal website traf c   SIMILARWEB




                                        “Beyond more traffic, the really important news is that The RealReal visitors
                                        are highly engaged, averaging ten pages per visit and bouncing off just 35% of
                                        the time,” she continues.

                                        In another measure of engagement, The RealReal’s online visitors know what
                                        they are looking for, with nearly half of its website traffic arriving after people
                                        type the URL in their search bar and an additional 22% coming from organic
                                        search. “The RealReal doesn’t have to pay to get people to visit,” Hakim-
                                        Bobrov says, noting only about 8% of traffic is from paid search.

                                        Demographically The RealReal’s visitors skew toward the Millennial
                                        generation's affluents and up-and-comers, with nearly one-third of its traffic




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                                        coming from people ages 24 to 34, and another 18% on each side of them,
                                        ages 18 to 23 and 35 to 44.

                                        Having been in the luxury business for the last seven years, The RealReal has
                                        a long enough track record to have seen the shift in generations. The trailing
                                        edge of the GenXers were 38 then, and the leading edge of the Millennial
                                        generation is 38 now.

                                        Millennials, ages 18 to 38, with their taste for luxury and their willingness to
                                        search high and low for it, are the key to The RealReal’s past and future
                                        success. As Wainwright reminds us, “Never underestimate how sharp
                                        Millennials are.”

                                        I am a market researcher, speaker and author focused on the affluent
                                        consumers’ behavior and mindset, including the HENRYs (high-earners-not-
                                        rich-yet) mass affluent. I founded Unity Marketing in 1992 as a research-led
                                        marketing consultancy, following a corporate career in re... MORE

                                        My book, "Shops that POP! 7 Steps to Extraordinary Retail Success," reveals
                                        how to make shopping an experience. Meet me at Unity Marketing or
                                        connect via Twitter, LinkedIn, Facebook

                                        50,813 views | May 30, 2018, 11:04am



                                        5 Cybersecurity Measures Mid-
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                                                     SunTrust BRANDVOICE




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                                        At SunTrust, our purpose is to Light the Way to Financial Well-Being for you and your
                                        business, our communities and our teammates. When you work with us, we'll work to
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State of Luxury Resale | Midyear 2018
 Exclusive data from The RealReal charting marketplace trends, bestselling brands
                and emerging designers in luxury fashion resale.
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     “Luxury resale has become bigger and
 more mainstream than ever. The industry and                
the public are looking to this market to determine
  consumer behavior, and to reveal the brands
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        and trends luxury consumers are
                 after right now.
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 With over 8 million items sold, we have unique
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  access to data that speaks to these trends, and
     we're excited to share it in this report.”
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                 —Rati Levesque
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                 Chief Merchant
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                                                               Search Ranking

       Gucci Is King Among Millennials


                 Search volume for Gucci bumped Chanel
                 and LV from the top spots this year for the
                 first time, and is growing 48% faster
                 among millennials than other age groups.
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                 Fendi is on the rise as logos like the
                 house’s iconic Zucca see a resurgence.
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                 Céline by Phoebe Philo sees an uptick
                 in search with the departure of the
                 iconic designer.
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                                                              Sales Growth Across All Age Groups

      Year-Over-Year Growth Among
      The 10 Top-Selling Brands



               Gucci leads the pack under Creative Director
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               Alessandro Michele, growing 62% among all
               age groups in the first half of the year.
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               Hermès is the fastest-growing brand
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               among millennials, growing 71% among
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               shoppers 18-34.
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                                          Millennial Women Are Buying & Consigning
                                                  The 5 Most Popular Brands




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                                                       Shifts In Consignment Resale Value

                                                +12%                                               -34%


                  Gucci is up as Alessandro Michele’s new vision                         Tory Burch declines as older
                             for the house reigns supreme.                             contemporary brands struggle.
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                                                +33%                                               -22%
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                 Golden Goose increases as women’s sneakers &                  Vetements is down as shoppers turn to Balenciaga
                     luxury streetwear gain in popularity.                            for Demna Gvasalia’s latest designs.
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                                                +15%                                               -27%
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                  Ulla Johnson is up as new contemporary brands                Johanna Ortiz is down as competing brands offer
                                   are on the rise.                                 similar styles at a lower price point.
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                                                Logo Bags Are Back & Selling Better Than Ever


                       Iconic, logo-centric styles by heritage brands              Past-season styles without in-your-face
                                are seeing rising resale value.                           labels are on the decline.
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               Dior Saddle Bag                              Gucci Web         Fendi 2Jours                    Balenciaga Motocross
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                     +89%                                    +51%               -21%                                 -14%
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                  Fendi Zucca                             LV Montsouris       Chloé Faye                       JW Anderson Pierce
                    +32%                                     +26%               -20%                                 -14%
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                                                   The Top 10 Brands Millennial Men
                                                       Are Buying & Consigning

                       Top 10 Brands Bought By Men 18-34                   Top 10 Brands Consigned By Men 18-34
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                                                Trends In Mens’ Consignment Resale Value


              Brands focused on logo revivals and with strong              Vetements ready-to-wear, Balmain ready-to-wear
              sneaker and statement outerwear offerings are                  and Bottega Veneta leather goods are seeing
                       seeing gains in resale value.                                  a decline in resale value.
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                                                          Dad Knows Best
                                    As designers have made chunky sneakers and formerly frumpy denim
                                            cool again, men are searching for dad-style staples.
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                       HAWAIIAN STYLE                         DAD HAT                                  FANNY PACK
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                                              Yeezy Rules Coast To Coast
                                                   Top Men’s Sneakers By City



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        L OS AN G E L E S                                                                                     Gucci Low-Top
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         Yeezy X Adidas
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                                                                                                       High-Top


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                                    NEW ARRIVALS           WOMEN   MEN   JEWELRY & WATCHES         ART & HOME      SALE      CONSIGN




                      The RealReal › Buyer



                      How do you authenticate each item?
                      May 31, 2017 12:44


                      Each product we accept is put through a multiple-point, brand-specific authentication process by a team of luxury experts
                      headed by our Director of Authentication & Brand Compliance. To learn more about our brand experts and how we
                      authenticate, click here. For questions regarding authenticity, please contact us at authenticity@therealreal.com.



                        Was this article helpful?             
                        95 out of 130 found this helpful




                      Have more questions? Submit a request


                      Articles in this section
                      What is your authentication process?
                      How do you authenticate each item?
                      Which items are excluded from promotions and discounts?
                      Can I offer a lower bid for an item?
                      How are your diamonds and gemstones graded?
                      What are your condition standards?
                      What is your return policy?
                      What if I am not satisfied with my jewelry purchase?
                      Does The RealReal have stores and locations to consign in person?
                      What are your shipping and delivery options?


                        See more




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                                    NEW ARRIVALS            WOMEN   MEN    JEWELRY & WATCHES          ART & HOME       SALE      CONSIGN




                      The RealReal › Buyer



                      What is your authentication process?
                      January 22, 2018 18:25


                      The RealReal Policy on Authenticity

                      Authenticity is the cornerstone of The RealReal. We staff trained, in-house professionals including gemologists, horologists,
                      art appraisers and apparel experts who work to ensure the items we sell are authentic and in beautiful condition.

                      Multi-Point Inspection and Evaluation

                      All items are put through a multi-point, brand-specific authentication process by a trained team of luxury experts headed by
                      our Senior Director of Authentication & Brand Compliance before they are accepted for consignment. We inspect all goods
                      for appropriate brand markings, date codes, serial tags and hologram stickers. Everything passes through our strict
                      authenticity tests before it is curated into daily sales. Our fine jewelry and watches are authenticated and appraised by our
                      gemologists and horologists and each piece comes with a valuation certificate. Art items are thoroughly researched and
                      validated by our team of fine art specialists.

                      The RealReal’s authentication process is unique to The RealReal and independent of any brands. Brands identified are not
                      involved in the authentication of the products being sold, and none of the brands sold assume any responsibility for any
                      products purchased from or through the website. Brands sold on The RealReal are not partnered or affiliated with The
                      RealReal in any manner. However, The RealReal fully cooperates with brands and state and federal agencies seeking to
                      track down the source of stolen or counterfeit items, which includes revealing the contact information of consignors
                      submitting counterfeit goods.

                      Goods Determined to be Counterfeit

                      The RealReal does not accept fake or counterfeit merchandise. If we suspect for any reason that a submitted consignment
                      is not authentic we will contact the consignor for proof of purchase in an effort to establish the items authenticity. Items The
                      RealReal determines are counterfeit will not be returned to the consignor and will be destroyed.



                        Was this article helpful?              
                        231 out of 259 found this helpful




                      Have more questions? Submit a request


                      Articles in this section
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                      How do you authenticate each item?
                      Which items are excluded from promotions and discounts?
                      Can I offer a lower bid for an item?
                      How are your diamonds and gemstones graded?
                      What are your condition standards?
                      What is your return policy?
                      What if I am not satisfied with my jewelry purchase?
                      Does The RealReal have stores and locations to consign in person?
                      What are your shipping and delivery options?


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                                                     SIDLEY AUSTIN LLP
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                                                     LOS ANGELES, CA 90013
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                                                                              July 10, 2018


VIA E-MAIL (tmax@sheppardmullin.com)

Theodore C. Max, Esq.
Sheppard Mullin Richter & Hampton LLP
30 Rockefeller Plaza
New York, New York 10112-0015

        Re:            The RealReal/Chanel

Dear Mr. Max:

        I write in response to your letter of June 22, 2018, to our client, The RealReal, Inc. (“The
RealReal”). Your letter contains several inaccuracies about The RealReal’s business model and
practices, as well as unfounded accusations of trademark infringement and false advertising.

        First, your letter claims that The RealReal advertised as genuine and sold four counterfeit
Chanel, Inc. (“Chanel”) handbags, pictured in Exhibit C to your letter, and that Chanel
“determined” that these handbags are counterfeit “based upon its review of the bags and the
related identification materials.” Noticeably absent from your letter is any substantiation
supporting your unfounded assertion that the handbags are counterfeit. Absent additional details,
The RealReal cannot credit, let alone evaluate, your claims. Please provide The RealReal with
the details supporting your conclusion, and The RealReal will consider that information.

         As aptly quoted in your letter, The RealReal does not knowingly accept fake or
counterfeit merchandise on its website, and if The RealReal suspects or has reason to believe that
property submitted for consignment is not authentic, The RealReal contacts the consignor for
proof of purchase in an effort to establish the authenticity of the property. Items that The
RealReal determines to be counterfeit are not returned to the consignor, but rather are destroyed.
The RealReal stands by its guarantee of the authenticity of the products sold on its website. Your
letter provides no information that calls into question its robust authentication process or the
propriety and legitimacy of its guarantee.

        Second, you make the baseless claim in your letter that The RealReal misleads consumers
into falsely believing that its authentication specialists “have been in some way authorized,
approved or trained by Chanel to be ‘experts’ about Chanel,” or that “there might be some
relationship or affiliation with Chanel.” In putative support, you cite to several statements from
The RealReal’s website, none of which actually states or suggests, either directly or indirectly,
       Sidley Austin (CA) LLP is a Delaware limited liability partnership doing business as Sidley Austin LLP and practicing in affiliation with other Sidley Austin partnerships.
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that The RealReal is affiliated with any brand or that its authentication experts are trained by any
brand, let alone Chanel. In fact, Exhibit B to your letter, which is a copy of an FAQ from The
RealReal’s website, flatly contradicts your assertion. In the referenced FAQ, The RealReal
affirmatively and expressly disclaims any affiliation with any brand:

        Brands identified are not involved in the authentication of the products being sold,
        and none of the brands sold assume any responsibility for any products purchased
        from or sold through the website. Brands sold on the RealReal are not partnered
        or affiliated with The RealReal in any manner.

        Your letter also appears to suggest that only Chanel has the training and knowledge to
authenticate Chanel goods, and as a result, The RealReal’s experts (or any other persons) are
unable to identify genuine or counterfeit Chanel goods. This is simply wrong. The RealReal
employs its own team of trained authentication specialists who inspect every Chanel-branded
product using a sophisticated and thorough process. As explained on The RealReal’s website,
and included in your Exhibit B, The RealReal’s experts have developed a multi-point, brand-
specific authentication process, which includes a detailed inspection for appropriate brand
marking, date codes, serial tags, hologram stickers, and other unique indicia of authenticity. Put
simply, The RealReal is clearly capable of authenticating the luxury items offered for sale on its
website, and further actually guarantees the authenticity of every item sold on the site.

        In short, you have failed to set forth any facts that substantiate your assertion that
consumers are confused or misled by The RealReal in any respect, whether as to the nature of
The RealReal’s authentication process or an affiliation with Chanel. Your allegations of false
advertising and consumer deception against The RealReal are therefore baseless.

        Third, your letter makes several demands for relief to which Chanel is plainly not
entitled:

   1.      You demand that The RealReal cease advertising and marketing its employees as
           experts regarding the authenticity of Chanel goods, and cease conducting expert-led
           workshops on Chanel products and their authentication.

           As set forth above, The RealReal’s specialists are fully capable of authenticating
           consigned luxury items, including Chanel goods. Further, The RealReal has never
           represented that its experts are trained or approved by Chanel, or possess some type
           of singular knowledge regarding Chanel goods. Rather, The RealReal accurately
           describes the qualifications of its experts, as well as its process for authenticating the
           luxury goods sold on its website, including expressly advising consumers of its
           experts’ independence from Chanel and other brands. Chanel also has no right to
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          demand that The RealReal cease conducting workshops or any other practice related
          to The RealReal’s in-house authentication process.

   2.     You next demand that The RealReal cease offering for sale, selling, and distributing
          counterfeit goods bearing the Chanel marks.

          Your apparent suggestion that The RealReal is intentionally selling counterfeit goods
          bearing the Chanel marks is both baseless and wrong. As explained above, The
          RealReal does not knowingly accept fake or counterfeit merchandise. It engages in a
          rigorous process both to authenticate items accepted for consignment and to respond
          to all allegations of counterfeit products being sold on its website. Unlike other
          online platforms that allow consumers to resell their goods without any review of the
          products offered for sale, The RealReal takes possession of and inspects the items
          before they are accepted for consignment and then guarantees to its customers the
          authenticity of the products that it resells. The RealReal then stands behind that
          guarantee if any issue is raised as to authenticity.

   3.     You also demand that The RealReal cease using the Chanel marks, or any
          confusingly similar variation of the Chanel marks, in connection with exportation,
          promotion, advertisement, offering for sale, sale, manufacture, production, or
          distribution of any business, product, or service.

          This demand is apparently based on the erroneous belief that The RealReal has no
          right to use Chanel trademarks or trade dress to sell genuine Chanel products. The
          law is otherwise. See, e.g., Tiffany (NJ) Inc. v. eBay Inc., 600 F.3d 93, 103 (2d Cir.
          2010) (“[A] defendant may lawfully use a plaintiff’s trademark where doing so is
          necessary to describe the plaintiff’s product and does not imply a false affiliation or
          endorsement by the plaintiff of the defendants.”). Chanel has no right to prohibit
          consumers that have purchased genuine Chanel goods from reselling those goods in a
          secondary market. Chanel also has no right to bar secondary marketplaces, like The
          RealReal, from using its trademarks to accurately refer to and describe genuine
          Chanel goods that are offered for sale.

   4.     You also demand that The RealReal cease offering for sale and selling any product
          with the Chanel marks in a manner that causes consumers to believe that The
          RealReal is affiliated with Chanel in any way or that the goods have been
          authenticated by individuals trained or affiliated with Chanel.

          As explained above, and as established in Exhibit B to your letter, The RealReal
          expressly disclaims any affiliation or association with any brand, including Chanel.
          You have failed to point to a single example of The RealReal representing to
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          consumers that it is affiliated with Chanel or that its employees are trained by Chanel,
          or to any evidence of consumer confusion in that regard.

   5.     You further demand that The RealReal cease disseminating false or misleading
          information relating to The RealReal’s expertise and ability to determine the
          authenticity of Chanel goods or that such authentication is approved and authorized
          by Chanel.

          This demand is similar to and overlaps with your first demand, and The RealReal’s
          response is the same. The RealReal and its team of trained experts are fully capable
          of authenticating luxury goods, and The RealReal guarantees the authenticity of every
          item it offers for consignment, including Chanel items. There is nothing false or
          misleading about The RealReal’s accurate explanation of its process to authenticate
          luxury consignment items.

   6.     You next demand that The RealReal cease engaging in any activity constituting false
          advertising, and that The RealReal include a large and prominent disclaimer that The
          RealReal is not sponsored by, authorized by, or affiliated with Chanel and has no
          relationship with or training from Chanel. Similarly, you demand that The RealReal
          notify potential consumers that the products for sale on its website are not
          authenticated by Chanel and that Chanel does not guarantee that the items sold are
          genuine.

          As discussed at length above, The RealReal is not engaged in any false advertising
          about its authentication process, particularly with respect to any purported
          relationship between The RealReal and brands offered for consignment on its
          website. While The RealReal does not believe that any disclaimer is required, your
          own letter reflects that The RealReal already states in its FAQ section that brands sold
          on the RealReal are not partnered or affiliated with The RealReal in any manner.

   7.     You demand that The RealReal provide the identity and documentation concerning
          the source of all the counterfeit Chanel goods sold or offered for sale on its website,
          and copies of any and all correspondence received or sent by The RealReal
          concerning counterfeit Chanel goods, including but not limited to consumer inquiries
          and complaints, and any contracts between The RealReal and any seller or vendor of
          Chanel goods.

          Based on the limited information provided in your letter regarding the four handbags
          you claim are counterfeit, The RealReal is unable to assess the credibility of your
          claim, and therefore cannot provide you with the information requested by this
          demand. As explained above, The RealReal takes all claims of counterfeit or fake
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           merchandise offered for sale on its website very seriously. If you have additional
           information regarding your analysis of the handbags and the reason for your belief
           that they are counterfeit, please submit that information to The RealReal so that it can
           evaluate the legitimacy of your claim.

   8.      You next demand that The RealReal provide documentation regarding its
           authentication of the allegedly counterfeit Chanel goods.

           Again, without more information, The RealReal is unable to assess the credibility of
           your contention that these four handbags are counterfeit, and therefore declines to
           provide you with the documentation requested by this demand.

   9.      You further demand that The RealReal cease use of the word “vintage” in the
           advertising and sale of used Chanel goods unless they are verified as being at least
           fifty years old, and ensure that any sales of used Chanel products are described as
           “used,” and that “the sale of these used products in no way constitutes any license,
           sponsorship or authorization by Chanel.”

           It is unclear how the use of the word “vintage” in connection with the advertising and
           sale of used Chanel goods has any bearing on your claim of trademark infringement
           and unfounded accusation that The RealReal sold counterfeit Chanel goods. The
           word “vintage” does not suggest an affiliation with Chanel, and Chanel has no right
           to preclude The RealReal from using it or to dictate to The RealReal how to use it (or
           any word). Further, as repeatedly explained herein, The RealReal expressly disclaims
           any affiliation with any brand, including Chanel.

   10.     You demand that The RealReal provide you with an accounting regarding the sale of
           counterfeit Chanel goods and false advertising regarding such goods, and pay Chanel
           all such monies together with “a sum representing damages and attorney’s fees” to be
           determined after an accounting by Chanel.

           The RealReal has created an informed, proprietary, and detailed process by which it
           evaluates all of the used brand items offered for consignment and sale on its site. You
           have failed to provide any substantiation for your claim that Chanel goods offered for
           sale on The RealReal’s website are counterfeit or falsely advertised, rendering your
           demand both baseless and moot (and we dispute that Chanel would either have or be
           entitled to “damages” in any event).

        In closing, we observe that rather than setting forth a credible claim of trademark
infringement or false advertising, your letter instead reflects part of Chanel’s improper and anti-
competitive campaign to squelch the secondary market for its products, in this instance by
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bullying participants in that market such as The RealReal. It is troubling – to say the least – that
Chanel would seek to prevent its own customers from reselling their Chanel items in the
secondary market, which both suppresses consumer property rights and undermines the benefits
that resale provides to Chanel in the form of increased demand for new luxury items. The
RealReal will not be intimidated by Chanel’s sham threats of litigation and attempts to
monopolize the market for its products. The RealReal is well within its rights, and will continue
to provide consumers with a safe and sophisticated platform to consign and purchase authentic
luxury items, including Chanel goods.

       This letter is without waiver of or prejudice to any and all of The RealReal’s rights,
remedies, and arguments, all of which are hereby expressly reserved.

                                              Very truly yours,




                                              Rollin A. Ransom

cc:      Dana DuFrane, Esq.
         Hank Barry, Esq.
